                                James I. Stang            November 29, 2022                    310.772.2354
                                                                                         jstang@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
N E W Y O R K, N Y              BY CM / ECF
H O U S T O N, T X

10100 SANTA MONICA BLVD.         The Honorable Martin Glenn
13th FLOOR
LOS ANGELES
                                 United States Bankruptcy Court
CALIFORNIA 90067-4003            Southern District of New York
TELEPHONE: 310.277.6910
                                 One Bowling Green
FACSIMILE: 310.201.0760          New York, NY 10004-1408

SAN FRANCISCO                              Re:   In re The Roman Catholic Diocese of Rockville
ONE MARKET PLAZA, SPEAR TOWER                    Centre, New York, Case No. 20-12345
40th FLOOR, SUITE 4000
SAN FRANCISCO
CALIFORNIA 94105-1020
                                Dear Chief Judge Glenn:
TELEPHONE: 415.263.7000
FACSIMILE: 415.263.7010
                                        We write to update the Court that today the Official Committee
                                of Unsecured Creditors (the “Committee”) sent the attached notice to the
DELAWARE                        parties to the Standstill Agreement, as that term is defined in the
919 NORTH MARKET STREET         Stipulation and Order Approving Standstill Agreement, Doc. No. 1049.
17th FLOOR
P.O. BOX 8705
WILMINGTON
                                       The Committee remains willing to make substantial progress
DELAWARE 19899-8705             toward resolving this case.
TELEPHONE: 302.652.4100
FACSIMILE: 302.652.4400                                        Very truly yours,

NEW YORK
780 THIRD AVENUE
34th FLOOR
                                                               James I. Stang
NEW YORK
NEW YORK 10017-2024

TELEPHONE: 212.561.7700
FACSIMILE: 212.561.7777
                                cc: All counsel (via electronic filing)

TEXAS
440 LOUISIANA STREET
SUITE 900
HOUSTON
TEXAS 77002-1062

TELEPHONE: 713.691.9385
FACSIMILE: 713.691.9407




WEB:   www.pszjlaw.com
                                ERROR! UNKNOWN DOCUMENT PROPERTY NAME.
James Stang

From:                                     James Stang
Sent:                                     Tuesday, November 29, 2022 4:31 PM
To:                                       Jeff Herman; Andrew Silvershein; Adam Horowitz; Jeffrey Anderson; Trusha Goffe; Pat
                                          Stoneking; Michael Dowd; Jason Amala; Michael Pfau; Mallory C. Allen; John D. Allison;
                                          Jordan K. Merson; Sarah Cantos; Patrick Noaker; Michael H. Reich; Georgia Kosmakos;
                                          Adam Slater; Jonathan Schulman; Diane Paolicelli; Yitzhak Fogel; Lee James; Mitchell
                                          Garabedian 2; Emily Charlton; 'Rosenblum, Benjamin'; 'Butler, Andrew M.'; 'Ball,
                                          Corinne'; 'Stephens, Eric P.'; Jeff Herman; Andrew Silvershein; Adam Horowitz; Jeffrey
                                          Anderson; Trusha Goffe; Pat Stoneking; Michael Dowd; Jason Amala; Michael Pfau;
                                          Mallory C. Allen; John D. Allison; Jordan K. Merson; Sarah Cantos; Patrick Noaker;
                                          Michael H. Reich; Georgia Kosmakos; Adam Slater; Jonathan Schulman; Diane Paolicelli;
                                          Yitzhak Fogel; Lee James; Mitchell Garabedian 2; Emily Charlton; 'Rosenblum,
                                          Benjamin'; 'Butler, Andrew M.'; 'Ball, Corinne'; 'Stephens, Eric P.'
Cc:                                       Karen B. Dine; Brittany M. Michael; Iain Nasatir; Ilan D. Scharf
Subject:                                  Diocese of Rockville Centre


This email is the Official Committee of Unsecured Creditors’ (the “Committee”) notice of termination of the Standstill
Period, as that term is defined in the Stipulation and Order Approving Standstill Agreement, Doc. No. 1049.

The Committee remains prepared to discuss a consensual resolution of this matter and would be willing to reinstate the
Standstill Period if significant progress toward a consensual plan. At this stage allowing parties to file plans will assist all
parties in understanding possible exits to this bankruptcy and next steps for the case.

James Stang
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jstang@pszjlaw.com
vCard | Bio | LinkedIn




Los Angeles | San Francisco | Wilmington, DE | New York | Costa Mesa




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